
PER CURIAM.
Johnson Georges appeals the summary denial of his motion to correct an illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a), alleging that he was sentenced under an unconstitutional version of the guidelines. Georges was sentenced on November 25, 1997. Georges alleges that the date of the offense was March 1, 1997. The trial court denied the motion, relying on our decision in Heggs v. State, 718 So.2d 263 (Fla. 2d DCA 1998),1 that suggested the relevant window to challenge the 1995 sentencing guidelines was determined by the date of sentencing. Because it is now clear that the date of offense is the relevant date, we reverse and remand for further consideration of this motion. See Smith v. State, 761 So.2d 419 (Fla. 2d DCA 2000).
We remand for the trial court to determine whether Georges in fact committed his offense within the Heggs window and, if so, whether his sentence could not have been imposed under the 1994 guidelines without a departure. If the answers to both of these questions are affirmative, then Georges must be resen-tenced in accordance with the valid guidelines in existence at the time he committed his offenses. If the court enters an order declaring resentencing unnecessary, it should attach all documents necessary to reach that conclusion. See Srrdth, 761 So.2d at 420.
Reversed and remanded for further proceedings in accordance with this opinion.
PARKER, A.C.J., and ALTENBERND and WHATLEY, JJ., Concur.

. Appeal decided by 759 So.2d 620 (Fla.2000).

